       2:22-cv-01307-RMG       Date Filed 05/09/23      Entry Number 114        Page 1 of 4




                       IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION

Nautilus Insurance Company,                  )
                                             )            Civil Action No. 2:22-1307-RMG
                      Plaintiff,             )
                                             )
        v.
                                    )                                  ORDER
Richard Alexander Murdaugh, Sr.;    )
Cory Fleming; Moss & Kuhn, P.A.;    )
Chad Westendorf; and Palmetto State )
Bank,                               )
                                    )
                    Defendants.     )
___________________________________ )

        This matter is before the Court on Plaintiff Nautilus Insurance Company’s (“Nautilus”)

motion challenging the standing of co-receivers to appear, plead, or respond to discovery. (Dkt.

No. 83). Defendant Richard Alexander Murdaugh, Sr. (“Murdaugh”) responded in support. (Dkt.

No. 89). The co-receivers opposed the motion. (Dkt. No. 91). Plaintiff replied. (Dkt. No. 93).

  I.    Background

        Nautilus is one of Defendant Murdaugh’s liability insurance carriers. Nautilus provided

defense counsel and liability coverage to Murdaugh related to a wrongful death claim asserted by

the Estate of Gloria Satterfield, the Murdaughs’ family housekeeper for fatal injuries sustained at

the Murdaugh family residence. Defendants Cory Fleming and Moss & Kuhn, P.A. represented

the Satterfield Estate and Defendant Chad Westendorf, an officer of Defendant Palmetto State

Bank, was the Personal Representative of the Satterfield Estate.

        Counsel for co-receivers, appointed to manage and preserve Murdaugh’s assets in a state

court action, filed a motion to dismiss the amended complaint for lack of personal and subject




                                                 1
          2:22-cv-01307-RMG      Date Filed 05/09/23     Entry Number 114       Page 2 of 4




matter jurisdiction, or in the alternative to remand the case to state court. 1 (Dkt. No. 40). On

August 23, 2022, the Court denied the motion to dismiss. (Dkt. No. 77). In its briefing, Nautilus

asked the Court to strike Murdaugh’s Answer and Motion to Dismiss as not authorized by the

receivership order or Murdaugh because those items were filed by counsel for the co-receivers.

(Dkt. No. 66 at 2). The Court declined to rule on that issue as it was not properly briefed for the

Court’s consideration. Nautilus’ motion challenging the standing of the co-receivers followed.

(Dkt. No. 83). The matter is ripe for the Court’s review.

    II.    Discussion

           Nautilus argues that “the Co-Receivers have no standing to appear, plead, or respond to

discovery on behalf of the Defendant Murdaugh in this action.” (Dkt. No. 83 at 2). Defendant

Murdaugh responded in support. (Dkt. No. 89). Murdaugh argues that the co-receivers may make

“appropriate motions as interested parties” but may not act for Murdaugh personally because

“Murdaugh is a competent adult not under any conservatorship.” (Dkt. No. 89 at 1). The co-

receivers oppose the motion. (Dkt. No. 91). They argue that the Court should abstain from

reviewing or invalidating the co-receivers’ authority because they were authorized by the

receivership order. (Id. at 1). Alternatively, the co-receivers argue that Nautilus’ motion fails

because the co-receivers “have standing and acted within the scope of their authority in filing an

answer to Plaintiff’s complaint.” (Id. at 2).




1
  Nautilus initiated the instant action on April 22, 2022. On November 4, 2021, the Court of
Common Pleas for Hampton County, South Carolina entered an order that granted a temporary
injunction and appointed co-receivers to take all actions necessary to maintain Murdaugh’s assets
in the action captioned (“receivership order”), Renee S. Beach, as Personal Representative for the
Estate of Mallory Beach v. Gregory M. Parker, Inc. et al., Case No. 2019-CP-25-00111.
(“receivership order”). (Dkt. No. 40-1).


                                                  2
     2:22-cv-01307-RMG          Date Filed 05/09/23       Entry Number 114         Page 3 of 4




       As the Court has explained previously, a receivership proceeding is an in rem action.

Cohen v. Stewart, Civil No. WDQ-14-0611, 2014 WL 2574550, at *3 (D. Md. June 5, 2014) (citing

Mills v. Roanoke Indus. Loan & Thrift, 70 F.R.D. 448, 451 (W.D. Va. 1975)). Judgments in in

rem actions affect only the property before the court and possess and carry no in

personam significance. Id. at 957 (citing Pennoyer v. Neff, 95 U.S. 714, 724 (1877)).

       The receivership order granted the co-receivers the authority to:

               (s) institute, prosecute, compromise or defend civil suits and actions
               at law or equity related to any Alex Murdaugh Asset and/or to any
               Buster Murdaugh Asset in order to preserve such asset if such
               action is economically feasible considering the value of such
               Subject Asset; . . . (u) take whatever other actions the Co-Receivers
               determine is incidental to, necessary or appropriate to protect and
               preserve Alex Murdaugh Assets and Buster Murdaugh Assets.

(Dkt. No. 40-1 at 5, 6) (emphasis added).

       First, this is an action for declaratory judgment. Nautilus’ suit does not create a conflict

with the receivership court’s order because that order only applies to in rem actions concerning

the administration of Murdaugh’s assets. See Morris v. Jones, 329 U.S. 545, 549 (1947) (The

“establishment of the existence and amount of a claim against the debtor in no way disturbs the

possession of the liquidation court, in no way affects title to the property, and does not necessarily

involve a determination of what priority the claim should have.”). In any event, “state courts are

completely without power to restrain federal-court proceedings in in personam actions.” Donovan

v. City of Dallas, 377 U.S. 408, 412-413 (1964).

       Second, the Federal Rules of Procedure “govern the procedure in all civil actions and

proceedings in the United States district courts.” FED. R. CIV. P. 1. Rule 11(a) requires that

“[e]very pleading, written motion, and other paper must be signed by at least one attorney of record

in the attorney’s name–or by a party personally if the party is unrepresented.” Counsel for the co-



                                                  3
       2:22-cv-01307-RMG        Date Filed 05/09/23      Entry Number 114          Page 4 of 4




receivers is not an attorney of record for Murdaugh. Consequently, she is unauthorized to appear

on his behalf.

        Thus, the Court finds that the receivership order does not, and cannot, authorize the co-

receivers to defend this in personam action on behalf of Murdaugh. Accordingly, the Court grants

Plaintiff’s motion (Dkt. No. 83) and finds that the co-receivers have no standing to appear, plead,

or respond to discovery on behalf of Murdaugh in this action.

III.    Conclusion

        For the foregoing reasons, Plaintiff’s motion is granted. (Dkt. No. 83).

        AND IT IS SO ORDERED.

                                                             s/ Richard M. Gergel
                                                             Richard M. Gergel
                                                             United States District Judge

        May 9, 2023
        Charleston, South Carolina




                                                 4
